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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



 ___________________________________
                                       )
                                       )
     Rodney Lail, et al.,              )
                                       )
           Plaintiffs,                 )
                                       )           C.A. No. 10-CV-210-PLF
                  v.                   )
                                       )
     United States Government, et al., )
                                       )
                                       )
           Defendants.                 )
                                       )
                                       )
                                       )



              PRO SE PLAINTIFFS’ JUDICIAL NOTICE
                PERTAINING TO DOCUMENT NO. 69,
          EXHIBIT “K” AND THAT ALL EXHIBITS ARE FILED

      Pro Se Plaintiffs hereby give notice that the referenced Exhibit “K” in

Document No. 69, will not be filed. The topic and issue pertaining to Exhibit “K”,

the setup of the unlawful arrest of Pro Se Plaintiff James Spencer on September 11,

2010, has already been admitted on the Court record by the known offending party

involved (See Document No. 69, Pg. 23, line 18). All Exhibits related to

Document No. 69 have been filed.


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                         CERTIFICATE OF SERVICE

   I hereby certify that on the 25th day of November, 2010, I electronically filed
the foregoing PRO SE PLAINTIFFS’ JUDICIAL NOTICE PERTAINING TO
DOCUMENT NO. 69, EXHIBIT “K”, with the Clerk of Court using the
CM/ECF system, which will then send a notification of such filing (NEF) to the
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